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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  Miami Division
                                           www.flsb.uscourts.gov
In re:
MOSHE ENBAR                                                         CASE NO. 16-21262-AJC
       Debtor                                                       Chapter 7
____________________________/
STEVEN G. LEGUM,
       Plaintiff,
vs.                                                                 Adv Pro No. 17-01010-AJC
MOSHE ENBAR,
       Debtor/Defendant
___________________________/

            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U.S.C. § 329(a), Bankruptcy Rule 2016(b), and Local Rule 2016-1, I certify that I
      am the attorney for the above-named debtor in Adv No. 17-01010-AJC-A and that compensation
      paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to
      me, for services rendered or to be rendered on behalf of the debtor in contemplation of or in
      connection with the bankruptcy case is as follows1:

      For legal services, I have agreed to accept an initial fee installment of   $2,500.00

      Prior to the filing of this statement I have received                       $2,500.00

      Balance Due - to be determined at hourly rate

2.    The source of the compensation paid to me was: “ Debtor X Other - Linda Enbar

3.    The source of compensation to be paid to me is: “ Debtor “ Other

4.    I have not agreed to share any compensation with any other person unless they are members and
      associates of my law firm.

5.    In return for the above -disclosed fee, I have agreed to render service for Adversary Proceeding
      only.

6.    If services are required to be provided by court order or local rule, any such representation are
      conditioned upon satisfactory arrangements for payment for services. The failure of the client to
      render payment will entitle this firm and its attorneys to seek to withdraw from the matter.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment
to me for representation of the debtor in this bankruptcy case.

                                            FLORIDA BANKRUPTCY GROUP, LLC
                                            Attorneys for Mr. Enbar
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